[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE: MOTION FOR RECONSIDERATION (#112)MOTION TO TRANSFER (#114)
The Motion for Reconsideration, which was filed by defendant Hartford Fire Insurance Company, is denied. Section 351 of the General Statutes provides that "[n]o cause shall fail on the ground that it has been made returnable to an improper location." See Sprague v. Commission on Human Rights and Opportunities,3 Conn. App. 484, 489 A.2d 1064, cert. denied, 196 Conn. 804,492 A.2d 1240 (1985); see also Szabo v. Beregszazy, 9 Conn. App. 368,519 A.2d 81 (1986); Greeman's Trucking, Inc. v. Department ofRevenue Services, 6 Conn. App. 261, 263, f.n. 3, 504 A.2d 568
(1986).
The Motion to Transfer, which was filed by plaintiff J  G Glass Company, is granted. CT Page 5316-WWWW
THIM, JUDGE